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     Attorney for Defendant
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 7

 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                    )       2:07-CR-00248 WBS
                                                  )
13
                                   Plaintiff,     )
14                                                )       STIPULATION AND [PROPOSED]
     v.                                           )       ORDER TO MODIFY BRIEFING
15                                                )       SCHEDULE
                                                  )
16
     GABRIEL CARACHEO,                            )
17                                                )
                             Defendant.           )
18   __________________________________           )
19
            On October 13, 2016, Mr. Caracheo filed a motion to reduce his sentence pursuant to 18
20
     U.S.C. § 3582(c)(2). ECF No. 1445. The court denied Mr. Caracheo’s motion, ECF No. 1545 at
21

22   p. 4, and Mr. Caracheo appealed, ECF No. 1563. On October 29, 2018, the Ninth Circuit issued

23   a memorandum decision, remanding the case to the district court to reconsider its denial of Mr.
24
     Carracheo’s motion in light of the United States Supreme Court’s decision in Hughes v. United
25
     States, 138 S. Ct. 1765 (2018). ECF No. 1615 at p. 2. On December 17, 2018, the parties
26
     appeared at a status conference and the court set a briefing schedule as follows: opening brief to
27

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                 STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 1
             Case 2:07-cr-00248-WBS Document 1626 Filed 02/28/19 Page 2 of 3


 1   be filed by January 31, 2019; the government’s opposition to be filed by February 14, 2019; and
 2
     any reply to the government’s opposition to be filed by February 21, 2019. ECF No. 1621.
 3
             On February 1, 2019, undersigned counsel emailed the attorney for the government in
 4

 5
     this matter, Jason Hitt, and informed him her office had, in error, not filed the opening brief after

 6   remand, although it was prepared by January 31, 2019 and had been ready to file. Mr. Hitt
 7   informed counsel by email that he had no objection to stipulating to additional time for filing the
 8
     brief and that he was in trial preparation. Ms. Radekin filed the opening brief that day, but did
 9
     not file a stipulation to modify the briefing schedule. ECF No. 1623.
10

11           As Mr. Hitt has been engaged in trial preparation and trial, the government needs more

12   time to prepare the opposition to the opening brief after remand. Ms. Radekin has no objection
13
     to this request. Accordingly, the parties stipulate and request that the date due for the
14
     government’s opposition be modified to March 15, 2019. Any reply would then be due on
15
     March 22, 2019. Assistant United States Attorney Jason Hitt has authorized Ms. Radekin to sign
16

17   this stipulation on his behalf.
18   IT IS SO STIPULATED.
19
     Dated: February 27, 2019                              MCGREGOR SCOTT
20                                                         United States Attorney
21                                                 By:      /s/ Jason Hitt
22                                                         JASON HITT
                                                           Assistant United States
23

24
     Dated: February 27, 2019                              /s/ Erin J. Radekin
25                                                         ERIN J. RADEKIN
                                                           Attorney for Defendant
26                                                         GABRIEL CARACHEO
27

28   //



                  STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 2
             Case 2:07-cr-00248-WBS Document 1626 Filed 02/28/19 Page 3 of 3


 1                                               ORDER
 2
             Pursuant to the unopposed request, and good cause appearing therefor, it is hereby
 3
     ordered that the date due for the government’s opposition to the opening brief after remand is
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 5
     March 15, 2019, and the date due for any reply to the government’s opposition is March 22,

 6   2019.
 7   Dated: February 28, 2019
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                 STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 3
